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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-CR-20175-DAMIAN


  UNITED STATES OF AMERICA,

  vs .

  DANIEL ALBERTO CARPMAN,

          Defendant.
  _ __ _ _ __ _ __ _ _ _ !

                                    RELEASE OF EXIIlBITS


         The undersigned hereby acknowledges that exhibits admitted into evidence during

  this trial and submitted to the jury during deliberations are hereby released back to

  counsel of record for the respective parties.




  cc: Counsel of Record
